     Case 1:21-cr-00303-JLT-SKO Document 61 Filed 06/26/23 Page 1 of 1


1
2
3
4
5
6
                              IN THE UNITED STATES DISTRICT COURT
7
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
8
     UNITED STATES OF AMERICA,                   )      Case №: 1:21-CR-00303-2-JLT
9                                                )
                     Plaintiff,                  )                    ORDER
10                                               )               APPOINTING COUNSEL
             vs.                                 )
11                                               )
     MIRNA MEDINA,                               )
12                                               )
                     Defendant.                  )
13                                               )
14          The above-named Defendant has, under oath, sworn or affirmed as to her financial
15
     inability to employ counsel or has otherwise satisfied this Court that she is financially unable to
16
     obtain counsel and wishes counsel be appointed to represent her. Therefore, in the interests of
17
     justice and pursuant to the U.S. CONST., amend VI and 18 U.S.C. § 3006A,
18
19          IT IS HEREBY ORDERED that Timothy P. Hennessy be appointed to represent the

20   above defendant in this case effective nunc pro tunc to June 22, 2023.

21          This appointment shall remain in effect until further order of this court, or until the
22
     pending criminal matter and any direct appeal is resolved, whichever is first.
23
24
     IT IS SO ORDERED.
25
26      Dated:     June 23, 2023                               /s/ Barbara A. McAuliffe               _
                                                        UNITED STATES MAGISTRATE JUDGE
27
28

                                                      -1-
